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                                                           U.S. Department of Justice
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   April 11, 2023

   VIA EMAIL

   David Yerushalmi
   American Freedom Law Center
   2020 Pennsylvania Ave. NW, Ste. 189
   Washington, DC 20006
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                    Re:   Baby Doe v. Mast, Case No. 3:22-cv-49 (W.D. Va.)

   Dear Mr. Yerushalmi,

           I received defendant Richard Mast (“RMast”)’s Requests for Production (“RFPs”)
   directed at nominal defendants United States Secretary of State Antony Blinken and Secretary of
   Defense General Lloyd Austin (“Nominal Defendants”), which you sent by e-mail on March 3,
   2023. On March 31, 2023, you agreed to a two-week extension of the deadline in order to allow
   for discussion of Nominal Defendants’ objections. To that end, I set forth a number of objections
   below, including the overarching points that neither Nominal Defendants nor other federal
   agencies are properly subject to discovery in this case under Rule 34. Accordingly, I ask that
   RMast withdraw these RFPs in their entirety.

   Nominal Defendants Are Not Properly Subject to Discovery Pursuant to Rule 34. The fact that
   no claims are asserted against, and no relief is sought from, Nominal Defendants, together with
   the underlying principle that the United States and its agencies are immune from suit absent an
   express waiver of sovereign immunity, makes any discovery against Nominal Defendants
   inappropriate in this case. See Lane v. Pena, 518 U.S. 187, 192 (1996) (“A waiver of the Federal
   Government's sovereign immunity must be unequivocally expressed in statutory text[.]”); Welch
   v. United States, 409 F.3d 646, 650 (4th Cir. 2005) (“As a sovereign, the United States is
   immune from all suits against it absent an express waiver of its immunity.”). Here, no party in
   this case has asserted any challenge to federal agency action under the Administrative Procedure
   Act (“APA”), 5 U.S.C. § 706, so the waiver of sovereign immunity in 5 U.S.C. § 702 is
   inapplicable here. Nor has any party identified any other statutory waiver of sovereign immunity
   by the United States that would allow a federal agency to be subjected to discovery simply
   because the head of the agency is named a “nominal defendant” in a case.

          Even if any party in this case had sought to bring a claim against Nominal Defendants
   pursuant to 5 U.S.C. § 706, such a claim would likely be subject to dismissal under 5 U.S.C.
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   § 701(a)(2) because it would involve a matter “committed to agency discretion by law.” See
   Holbrook v. Tenn. Valley Auth., 48 F.4th 282, 295 (4th Cir. 2022). Certainly, the foreign policy
   decision to transfer the child at issue in this case to the Government of Afghanistan for family
   reunification, consistent with the Government of Afghanistan’s request, fell well within the
   sphere of foreign affairs decisions “not subject to judicial intrusion or inquiry.” Chicago & S. Air
   Lines v. Waterman S. S. Corp., 333 U.S. 103, 111 (1948); see also Nestle USA, Inc. v. Doe, 141
   S. Ct. 1931, 1939 (2021) (“[T]he political branches, not the Judiciary, have the responsibility and
   institutional capacity to weigh foreign-policy concerns,” (internal quotation omitted)). And
   discovery based on an APA claim would in any event be inappropriate because APA claims are
   typically adjudicated without a trial or discovery, based on an administrative record compiled by
   the agency. Dep’t of Com. v. New York, 204 L. Ed. 2d 978, 139 S. Ct. 2551, 2573–74 (2019);
   Fort Sumter Tours, Inc. v. Babbitt, 66 F.3d 1324, 1335–36 (4th Cir. 1995). In short, discovery
   against Nominal Defendants pursuant to Rule 34 would be precluded even in a direct challenge
   to the United States’ foreign policy decision to transfer the child to the Government of
   Afghanistan. It is all the more inappropriate where no such challenge has been asserted.

   Parties Must Pursue Third-Party Discovery Through Agency Touhy Procedures. Because no
   waiver of sovereign immunity allows for Nominal Defendants to be subject to document requests
   pursuant to Rule 34, any party seeking documents from the State Department or the Department
   of Defense (“DoD”) for use in this case must follow third-party discovery procedures, including
   by following those agencies’ Touhy regulations. In addition, a number of RMast’s RFPs appear
   to seek documents from agencies other than the State Department or DoD. RFPs 1 & 2 reference
   documents sent “to any agent of the Federal Government”; RFPs 9-11 reference documents to
   and/or from “any U.S. government agent”; RFP 18 refers to material “in possession of the U.S.
   Government”; RFPs 22-23 appear to seek documents from the U.S. Citizenship and Immigration
   Services (“USCIS”). (RFP 24 refers to documents or communications “with” a number of other
   agencies but does not specify anyone on the other side of the communication, so it is unclear
   what this RFP is seeking.). RFP 28 appears to seek documents or communications from the
   Offices of the President and Vice President. In addition to the impropriety of discovery against
   Nominal Defendants, RMast cannot properly seek documents from other components of the
   Federal Government through Rule 34 document requests. Rather, the proper method for seeking
   such documents is, again, through third-party discovery, including, if available, federal agencies’
   Touhy procedures. See, e.g., United States v. Soriano-Jarquin, 492 F.3d 495, 504 (4th Cir. 2007)
   (recognizing criminal defendant was required to follow non-party agency’s Touhy regulations in
   order to seek documents from that agency); Texas v. Holder, No. 12-cv-128, 2012 WL
   13070110, at *3 (D.D.C. June 8, 2012) (denying Texas’s motion to compel discovery from non-
   party agencies because it failed to follow third-party discovery procedures).

   The Discovery Sought Is Irrelevant, Overbroad, Unduly Burdensome and Disproportionate to
   the Needs of the Case. Even aside from Nominal Defendants’ sovereign immunity, which bars
   any discovery of Nominal Defendants outside the Touhy third-party discovery process, RMast’s
   RFPs do not comport with Rule 26(b)(1), which requires that discovery be “relevant to any
   party’s claim or defense and proportional to the needs of the case, considering the importance of
   the issues at stake in the action, the amount in controversy, the parties' relative access to relevant
   information, the parties' resources, the importance of the discovery in resolving the issues, and
   whether the burden or expense of the proposed discovery outweighs its likely benefit.” Here, the
   discovery sought is not relevant to any party’s claim or defense. Plaintiffs in this case assert that
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   the non-federal Defendants, by luring Plaintiffs to the United States and taking their child, have
   engaged in (1) tortious interference with parental rights; (2) fraud; (3) common law conspiracy;
   (4) intentional infliction of emotional distress; and (5) false imprisonment. None of the discovery
   sought by RMast’s RFPs to Nominal Defendants appears in any way relevant to any of these
   claims. Nor does it appear relevant to the declaratory relief that Plaintiffs seek. Specifically, none
   of the information sought has any bearing on the application of the Supremacy Clause to state
   court decisions that conflict with the United States’ decision to transfer the child to the
   Government of Afghanistan; nor to the Government of Afghanistan’s determination that the
   child was Afghan, not “stateless”; nor to the absence of any waiver of jurisdiction over the child
   by the Government of Afghanistan.

           Rather than addressing any claim at issue in the case, the RFPs appear to focus on the
   same misguided effort that Respondents in the state case have already pursued unsuccessfully, in
   numerous filings and hearings over many months, to collaterally attack the United States’ foreign
   policy decision to transfer the child to the Government of Afghanistan for family reunification,
   as well as the determinations by both the United States and the Government of Afghanistan that
   the child’s Afghan relatives that were identified through the Government of Afghanistan’s and
   the International Committee of the Red Cross (“ICRC”)’s search were properly verified. These
   issues are not properly before this Court. No party has challenged the United States’ decision
   under the APA. And there is no conceivable legal theory that would allow a federal court in the
   United States to second-guess a foreign government’s determination that an infant found within
   its borders, with no prior ties to the United States, is its citizen, and that legal guardianship
   should be conferred on her surviving relatives.

            Because the RFPs focus on those issues rather than any claim or defense legitimately at
   issue in the case, they are irrelevant and would impose burdens disproportionate to the needs of
   the case. The RFPs are also irrelevant and inappropriate because they appear to target DoD’s and
   the State Department’s own decision-making processes, diplomatic communications with foreign
   governments, and confidential communications with international organizations regarding the
   child. As explained above, such discovery would be precluded even in a direct challenge to the
   United States’ foreign policy decision to transfer the child to the Government of Afghanistan. It
   is all the more inappropriate where no such challenge has been asserted. Non-federal Defendants
   cannot properly circumvent the limitations of sovereign immunity and the APA by not bringing a
   direct claim.

           Specific RFPs are also disproportionately burdensome because they do not provide
   sufficient details to identify where the documents sought might be found. For example, RFPs 1
   and 2 seek documents or communications between Plaintiffs and “any agent of the Federal
   Government,” including Plaintiffs’ cell phone, with no indication what agency, office, or
   employee may have come into possession of such documents, or when. Similarly, RFP 18 seeks
   documents or communications “relating to DNA samples taken from John Doe which are in
   possession of the U.S. Government,” with no suggestion of when or by whom such DNA
   samples might have been taken. RFP 27 seeks documents or communications “relating to
   Plaintiff Jane Doe’s age,” with no suggestion of who in the United States Government might
   have communicated on that topic, or when. These requests would require extensive inquiries and
   searches in order to try to determine what specific employee of Nominal Defendants, if any,
   might have engaged in such communications or might possess such documents.
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           RFPs 15, 19, and 20 appear to seek documents relating to the September 2019 military
   operation where the child was found. None of this information is relevant to any claim or defense
   at issue in this case because the United States’ foreign policy decision, as well as ICRC’s and the
   Government of Afghanistan’s search for and verification of the child’s Afghan relatives, are not
   challenged or subject to review in this case. Some documents responsive to these RFPs are also
   likely classified or otherwise protected from disclosure because they would contain specific
   details regarding U.S. military operations.

          RFP 21 seeks documents or communications relating to Touhy requests that Joshua Mast
   submitted, seeking documents or testimony for use in a different case. However, DoD or its
   counsel has already provided Mast with responses to his Touhy requests. Any additional
   documents or communications on this subject would reflect internal agency deliberations,
   attorney-client communications, and attorney work product and would therefore be privileged.
   The information sought also appears irrelevant to any claim or defense at issue in this case.

           RFPs 25 and 26 are disproportionately burdensome relative to the needs of the case
   because non-federal Defendants have already received the information sought through other
   means. For example, any documents provided to Plaintiffs in connection with Touhy requests
   submitted for purposes of the state case were already provided to the Masts by Plaintiffs, and
   RMast is counsel of record in the state case. Although Touhy productions in the state case
   authorized use of produced material only in that case, and not in any other proceeding, RMast
   has had access to this material and could seek authorization under Touhy to use any specific
   material he thinks relevant in this case. (Because the Touhy productions in the state case were
   made with the understanding that certain information was under seal, the same documents may
   require further redactions in order to be authorized for use in this case, unless a Protective Order
   is entered in this case that allows similar protections.) I also understand that the Masts have
   already sought communications between Plaintiffs’ counsel and the United States directly from
   Plaintiffs in the state case, and that Plaintiffs have likely already produced such communications.
   In any event, these requests do not appear to seek any information relevant to the claims or
   defenses at issue in this case.

   To the Extent the RFPs Seek Documents that Are Not Privileged or Otherwise Protected from
   Disclosure, the Discovery Sought Is Cumulative of Documents and Information Already
   Provided Pursuant to Touhy and Through Statements of Interest in the State Case. As
   explained above, RFPs 25 and 26 expressly seek documents already produced through other
   means. In addition, the parties in the state case submitted Touhy requests to Nominal Defendants
   that sought some of the same material identified in these RFPs, and Nominal Defendants
   produced documents in response to those requests. The United States also submitted Statements
   of Interest in the state case, accompanied by declarations that explain in detail the United States’
   actions, decisions, and interests with respect to the child. These declarations covered the United
   States’ foreign policy decision to transfer the child to the Government of Afghanistan for family
   reunification. They also covered the request to expedite a humanitarian parole application that
   was initiated as a result of Joshua Mast’s provision of misleading information to a DoD office
   that had not previously been involved in decision-making regarding the child, and DoD’s
   stopping of that request two days later. Cf. RFP 23. They also covered Mast’s misrepresentations
   to other federal employees that led to Plaintiffs and the child being transported from Afghanistan
   to the United States in August 2021. Cf. RFP 28. To the extent RMast seeks to use in this case
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   any documents or declarations that were provided in the state case, he may request authorization
   to do so by submitting a Touhy request to the relevant agency.

          In light of the above, I request that you withdraw the pending RFPs. To the extent you
   wish to discuss either the RFPs or the process for seeking United States Government information
   pursuant to Touhy, I am happy to do so. I request that I be provided by email with copies of any
   Touhy requests that are submitted.



                                                              Sincerely,

                                                              /s/
                                                              Kathryn Wyer
